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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF PENNSYLVANIA


ROBERT JAHODA and THOMAS KLAUS,

       Plaintiffs,                                 Case No. 2:21-cv-312-NR
v.

TUBI, INC.,

       Defendant.

                       NOTICE OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A), Plaintiffs Robert Jahoda and Thomas Klaus

hereby voluntarily dismiss with prejudice their claims against Defendant Tubi, Inc.


       Dated: May 20, 2021                  Respectfully Submitted,

                                            /s/ R. Bruce Carlson
                                            R. Bruce Carlson
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                                            Counsel for Plaintiffs
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                                CERTIFICATE OF SERVICE

       I hereby certify that on May 20, 2021, I caused a true and correct copy of the foregoing to

be filed electronically and served via the Court’s ECF system.



                                                    /s/ R. Bruce Carlson
                                                    R. Bruce Carlson
